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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


UNITED STATES OF AMERICA,

       Plaintiff,
                                                           Hon. Paul L. Maloney
v.
                                                           Case No. 1:20-cr-00157
DION DWIGHT LOGAN,

      Defendant.
________________________________/
                                      ORDER

       This matter is before the Court on the government’s motion for pretrial

detention. The government sought defendant Dion Dwight Logan’s detention on the

basis of that he poses a danger to the community, 18 U.S.C. § 1342(f)(1), and that he

poses a significant risk of flight, 18 U.S.C. § 3142(f)(2)(A). The Court conducted an

evidentiary hearing on October 20, 2020, at which defendant was represented by

counsel.

       Having considered the evidence presented at the hearing, the parties’ oral

submissions, and the information in the Pretrial Services Report, and for the reasons

stated on the record, the Court finds that the government has not met its burden of

establishing by preponderant evidence that defendant poses a risk of non-

appearance. The Court also finds, as explained on the record, that the government

has sustained its burden by clear and convincing evidence that he is a danger to the

community. Further, the Court finds that there is no condition or combination of

conditions of release that will ensure the safety of the community.
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      Accordingly, IT IS ORDERED that defendant is committed to the custody of

the Attorney General pending trial.

      DONE AND ORDERED on October 21, 2020.




                                           /s/ Phillip J. Green
                                          PHILLIP J. GREEN
                                          United States Magistrate Judge




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